        Case 4:15-cr-00233-BSM             Document 122          Filed 03/16/16        Page 1 of 1
                            IN THE UNITED STATES DISTRICT COURT
                                                                                           FILED
                                                                                         US DISTRICT COURT
                                                                                     EASTERN DISTRICT ARKANSAS
                               EASTERN DISTRICT OF ARKANSAS
                                     WESTERN DIVISION                                          16 2016
                                                                               JAMES
                                                                                                         fpfLERK
UNITED STATES OF AMERICA
                                                                               By:                       DEP CLERK

        vs.                             NO. 4: 15 CR 00233-06

Yahir Guzman                                                                                DEFENDANT


                      WAIVER OF APPEARANCE FOR ARRAIGNMENT
                         AND ENTRY OF PLEA OF NOT GUILTY
               (Pursuant to Rules 10 and 43 of the Federal Rules of Criminal Procedure)

        NOW COMES Defendant in the above-referenced case who, along with his/her undersigned attorney,
hereby acknowledges the following:

1)      Defendant has received a copy of the indictment, superseding indictment or misdemeanor
        information in this case. Defendant understands the nature and substance of the charges contained
        therein, the maximum penalties applicable thereto, and his/her Constitutional rights, after being
        advised of all of the above by his/her attorney.

2)      Defendant understands he/she has the right to appear personally with his/her attorney before a Judge
        for arraignment in open court on this accusation. Defendant further understands that, absent the
        present waiver, he/she will be so arraigned in open court.

Defendant, having conferred with his/her attorney in this regard, hereby waives personal appearance with
his/her attorney at the arraignment of this case and the reading of the indictment, superseding indictment or
information, and by this instrument tenders a plea of "not guilty." The defendant understands that entiy by
the Court of said plea for defendant will conclude the arraignment in this case for all purposes.


        lS-0316
        Date

         3lr5/11t2.
        Date


                                         ORDER OF COURT

         The defendant's request to waive appearance at the arraignment is hereby APPROVED and a
         plea of not guilty is entered for the defendant effective this date.

 IJ      The defendant's request to waive appearance at the arraignment is

        N\~ \Ca 2 O\G,
         Date           '



cc:     All Counsel of Record
        U.S. Probation Office
        U.S. Marshals Service
        Presiding Magistrate Judge
